404 F.2d 37
    SAN FRANCISCO-OAKLAND NEWSPAPER GUILD; Newspaper and Periodical Drivers' and Helpers' Union Local 921; Los Angeles Newspaper Guild, Local 69; Los Angeles Web Pressmen's Union No. 18; Los Angeles Stereotypers' Union No. 58; Los Angeles Typographical Union No. 174; International Association of Machinists and Aerospace Workers, District Lodge No. 94; General Warehousemen's Union Local 598; Building Service and Maintenance Employees Union No. 399; Los Angeles Mailers' Union No. 9; and Los Angeles Paper Handlers' Union No. 3, Appellants,v.Ralph E. KENNEDY, Regional Director of Region 21 of the National Labor Relations Board, for and on Behalf of the NATIONAL LABOR RELATIONS BOARD, Appellee.
    Nos. 22767-22769.
    United States Court of Appeals Ninth Circuit.
    April 19, 1968.
    Order on Reconsideration May 20, 1968.
    
      Bodle, Fogel, Julber &amp; Reinhardt, Los Angeles, Cal. Darwin, Rosenthal &amp; Leff, San Francisco, Cal. Levy DeRoy, Geffner &amp; Van Bourg, Brundage &amp; Hackler, Richman, Garrett &amp; Ansell, O'Melveny &amp; Myers, Los Angeles, Cal., for appellants.
      Arnold Ordman, Gen. Counsel, Dominick L. Manoli, Associate Gen. Counsel, Julius G. Serot, Asst. Gen. Counsel, Daniel J. Harrington, Regional Atty., Milo V. Price, Atty., National Labor Relations Board, Los Angeles, Cal., for appellee.
      ORDER ON MOTIONS
      Before KOELSCH, BROWNING and DUNIWAY, Circuit Judges.
      PER CURIAM.
    
    
      1
      Appellants, above named, have appealed from an order of the United States District Court, granting a temporary injunction on February 7, 1968, in an action brought by the Regional Director of Region 21 of the National Labor Relations Board under Section 10(l) of the National Labor Relations Act, as amended (29 U.S.C. § 160(l)).
    
    
      2
      Presently they have moved for an order suspending the injunction pending this appeal. By stipulation the parties agreed that the Regional Director should file a written response to said motion by April 17 and that the matter would then be submitted for the court's determination without argument; additionally, the parties agreed upon a briefing schedule and requested an early hearing of the appeal on the merits.
    
    
      3
      The charging parties in the Labor Board proceedings (Case Nos. 21-CC-1043 and 21-CC-1043-2) on April 17, filed their motion seeking leave to intervene in this appeal and time to file their opposition to appellants' motion.
    
    
      4
      The court, after due consideration, makes the following order:
    
    
      5
      1. The charging parties are granted leave to intervene in this appeal as appellees; their motion for time, etc. is denied;
    
    
      6
      2. Appellants' motion for stay of the temporary injunction is denied;
    
    3. The briefing schedule is as follows:
    
      7
      Appellants shall file and serve their briefs by April 23; appellees may have seven days after receipt of such briefs to file their briefs, and appellants' reply briefs to follow within five days thereafter.
    
    ORDER ON RECONSIDERATION
    
      8
      The Regional Director and charged parties, having moved for reconsideration of our order allowing the charging parties to intervene in this proceeding, the latter were permitted to and did file a brief in opposition and the matter was then submitted.
    
    
      9
      It is ordered that the order of April 19, 1968, so far as it permitted such intervention, is rescinded but is deemed an authorization for charging parties to appear and file a brief as amici curiae.
    
    